    Case 1:03-cr-00239-GJQ ECF No. 96 filed 03/24/05 PageID.224 Page 1 of 1
                             UNITED STATES DISTRICT COURT
                             W ESTERN DISTRICT OF MICHIGAN
                                   SENTENCE MINUTES

Case No.:        1:03:CR:239-01
Date:            March 24, 2005
Time:            1:40 PM - 4:50 PM
Judge:           Hon. Gordon J. Quist

         UNITED STATES OF AMERICA v. NORMAN DAVID SOMERVILLE

Appearances:

Government: Lloyd K. Meyer
Defendant: Richard E. Zambon                G Retained O Appointed


CONVICTION: O Indictment          G Information

                 O PLEA to Count: One         Date of Plea: 8/11/2004
                 G JURY TRIAL


SENTENCE:        IMPRISONMENT:                     80 mos.

                 SUPERVISED RELEASE:               3 yrs.

                 PROBATION:

                 RESTITUTION:

                 FINE:                             $2,000.00

                 SPECIAL ASSESSMENT:               $100.00

Go vt's M otion to Dism iss all rem aining cou nts and c harg es w ithout prejud ice: O Granted   9 Denied

Govt's 5K1.1 Motion Granted?     9 YES 9 NO          Defendant's 5K2.0 Motion Granted?      9 YES 9 NO
Govt’s 3E1.1 Motion Granted?     9 YES 9 NO

Appeal Forms given to counsel & defendant?         O YES 9 NO

O Rem and     9 Self Surrender                          Plea Agreement Accepted?       O YES       9 NO

Interpreter Sworn?       9 YES    9 NO             9 Ellen Donohue 9 Gloria Torres 9 Tam ara Brubaker

ADDITIONAL:

Government witness ATF Special Agent Mark Semear sworn and testified;

Government witness FBI Special Agent Robert Birdsong sworn and testified




Court Reporter: Diane Calsbeek                                       Courtroom Clerk: Jane M. Tepper
